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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF ILLINOIS


UNITED STATES OF AMERICA,

Plaintiff,

vs.

TRAVIS NORMAN,

Defendant.                                          No. 05-CR-30015-DRH

                                     ORDER

HERNDON, District Judge:

              Before the Court is a motion submitted by the government seeking to

dismiss Defendant Travis Norman (“Defendant”) without prejudice in this matter due

to the fact that Defendant has been charged in the Eastern District of Missouri on

charges stemming from his actions in that district. (Doc. 266.) The Court, being

fully advised in the premises, GRANTS Defendant’s motion, and DISMISSES

without prejudice Defendant from Counts 1, 4, and 9 of the superseding indictment.

(Doc. 266.)

              IT IS SO ORDERED.

              Signed this 3rd day of March, 2006.

                                            /s/      David RHerndon
                                            United States District Judge
